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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NORTH DAKOTA

United States of America,                      )
                                               )
               Plaintiff,                      )      ORDER
                                               )
       vs.                                     )
                                               )      Case No. 1-16-cr-217
Shane Fritz Kahl,                              )
                                               )
               Defendant.                      )


       Upon information received by chambers, Defendant Shane Kahl is currently in state custody

pending resolution of state charges against him. The Defendant has not appeared in the above-

captioned case but has a federal detainer placed on him. Defendant’s sister recently passed away and

her funeral is on January 19, 2017. The state court has issued a furlough from custody for the

Defendant to attend the funeral. The Marshals Service is ORDERED not to execute on the

Defendant’s federal detainer during the period of furlough allowed by the state court.

       IT IS SO ORDERED.

       Dated this 18th day of January, 2017.

                                               /s/ Charles S. Miller, Jr.
                                               Charles S. Miller, Jr., Magistrate Judge
                                               United States District Court
